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                              IN THE UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF GEORGIA
                                       VALDOSTA DIVISION


KENNETH JOHNSON, et al.,                                           *
                                                                   *
        Plaintiffs,                                                *
                                                                   *
v.                                                                 *    Civil Action
                                                                   *    File No. 7:16-CV-00141-WLS
BRANDEN BELL, et al..                                              *
                                                                   *
        Defendants.                                                *



    SPECIAL APPEARANCE MEMORANDUM OF LAW IN SUPPORT OF MOTION TO
        DISMISS COMPLAINT AND AMENDED COMPLAINT OF DEFENDANTS
          MICHAEL ADAMS, HOWARD FISHER, ROY HART, STRYDE JONES,
        RANDY LIGHTSEY, MARK MASKULE, JACK PRIDDY, KERRY QUINN,
                         BRYCE WHITENER AND JACK WINNINGHAM

         Defendants Michael Adams, Howard Fisher, Roy Hart, Stryde Jones, Randy Lightsey,

Mark Maskule, Jack Priddy, Kerry Quinn, Bryce Whitener and Jack Winningham (collectively,

“these Defendants) file this Memorandum of Law in Support of Motion to Dismiss Complaint

(Doc. 1) and Amended Complaint (Doc. 72) pursuant to FRCP 12(b)(4) and (5) and show the

Court as follows.1




1
  These Defendant make this special appearance without waiving, and expressly preserving, all defenses available to
them under applicable law.

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                                                    Procedural History

          This case is a “renewal” under Georgia law (OCGA § 9-2-61) of several cases previously

pending and dismissed by Plaintiffs in the Superior Court of Lowndes County, Georgia. (Doc. 1,

p. 2). Lowndes County Sheriff Chris Prine was the only named defendant in Civil Action No.

2013CV1230 and the remaining eighteen (18) LCSO Defendants (including these Defendants)

were among the thirty-eight (38) named defendants in Civil Action No. 2015CV706. 2

          Subsequent to Plaintiffs’ dismissals of their Superior Court suits, the defendants in those

cases (including these Defendants) filed Motions for Attorneys’ Fees. On August 18, 2016, the

Superior Court informed counsel for the respective parties that the Court had determined that the

pending Motions for Attorneys’ fees should be granted and that attorneys’ fees and expenses would

be awarded to each of the movants. Thereafter, the Superior Court scheduled hearings to determine

the amounts of fees and expenses to be awarded. The basis of the Superior Court’s determination

that attorneys’ fees and expenses should be awarded was that the Plaintiffs’ claims against the

Defendants lacked substantial justification in that the same were substantially frivolous,

substantially groundless or substantially vexatious within the meaning of OCGA § 9-15-14(b).

Attorneys’ fees and expenses of litigation awarded under OCGA § 9-15-14 in a prior action

between the same parties shall be treated as court costs with regard to the filing of any subsequent

action. OCGA § 9-15-14(g).

          On August 17, 2016, Plaintiffs initiated this action by filing the Complaint (Doc. 1) with

the Clerk of Court. Plaintiffs waited 89 days to cause summonses to be issued by the Clerk of

Court for Adams (Doc. 38), Jones (Doc. 8), Whitener (Doc. 13) and Winningham (Doc. 22). Just


2
    The Civil Action Numbers referred to are the case numbers from the Superior Court of Lowndes County, Georgia.

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before midnight on November 15, 2016, the 90th day after filing, Plaintiffs’ counsel filed a Motion

(Doc. 42) to extend the time to serve all of the named defendants.

     These Defendants are Lowndes County Sheriff’s Deputies (Doc. 1). Lowndes County Sheriff

Chris Prine is named as a defendant in this case. (Doc. 1, ¶ 9). At various times between December

30, 2016 and February 23, 2017, Plaintiffs caused copies of a summons and the Complaint (Doc.

1) and/or the Amended Complaint (Doc. 72) to be delivered to these Defendants. 3 The copies of

a summons and Complaint and/or Amended Complaint that Plaintiffs caused to be delivered to

these Defendants was delivered to each of them by a Lowndes County Sheriff’s Deputy. Plaintiffs

have acknowledged their use of Lowndes County Sheriff’s Deputies to attempt to serve process

upon the Lowndes County Sheriff and Lowndes County Sheriff’s Deputies named as defendants

in this action. (Doc. 83, ¶¶ 1-2).

     Following the filing of their Motion (Doc. 42) to extend the time to serve defendants, Plaintiffs

conceded in Plaintiffs’ Second Motion for Extension of Time (Doc. 54) that any service thereafter

would be futile as to the state law claims which were filed on behalf of Plaintiffs individually, as

well as to any claims in which service of process had not been perfected or accomplished. (Doc.

54, p. 1). Plaintiffs conceded this because they could not show the diligence required by state law

in perfecting service following commencement of a renewal action under OCGA § 9-2-61.

        Thus, Plaintiffs have admitted their failure to satisfy the service requirements of Georgia

law when commencing and serving a renewal action. Only after making that admission did



3
  Defendants Troy Black, Christopher Burke, Wanda Edwards, Christi Griffin, Logan Henderson, John Marion, Aaron
Pritchett, Chris Prine and James Thornton were not served on or before February 23, 2017, the last day for service
pursuant to the Court’s Order (Doc. 79) extending the time for service. Defendants Black et al. have pending a Motion
to Dismiss for lack of service. See Doc. 87.

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Plaintiffs cause copies of summonses and complaints to be delivered to these Defendants. And

that delivery was made upon these Lowndes County Sheriff’s Deputies by other Lowndes County

Sheriff’s Deputies in a case in which they and the Lowndes County Sheriff are named as

defendants.

                                          Argument and Authorities

        Service upon Sheriff’s Deputies by another Sheriff’s Deputy in a case in which the Sheriff

and Sheriff’s Deputies are parties is not permitted and is improper service. FRCP 4(c)(2)

provides that “Any person who is at least 18 years old and not a party may serve a summons and

complaint” (emphasis supplied). Under Georgia law, process shall be served by the sheriff or

sheriff’s deputy or by “a person who is not a party [and] not younger than 18 years of age …”

(emphasis supplied). OCGA § 9-11-4(c)(1) and (4).

        Here, the Lowndes County Sheriff is named as a party. All of these Defendants are

Lowndes County Sheriff’s Deputies.                   Service of these Defendant Sheriff’s Deputies was

purportedly accomplished by a Lowndes County Sheriff’s Deputy. Such purported service is not

permitted by FRCP 4 or OCGA § 9-11-4. Parties are presumed to have an interest in the cases in

which they are named. Sheriff’s Deputies, when acting in their capacity as such, are acting for the

Sheriff who has appointed them pursuant to Georgia law. Parties may not serve parties. Any such

service is not permitted and is improper. See also Abrams v. Abrams 239 Ga. 866 (1977) (holding

that sheriffs are disqualified to perform their official duties in cases in which they have an interest;

service made by a party is void). Plaintiffs’ purported service of these Defendants is void.




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Plaintiffs and their counsel have been on notice that Plaintiffs’ purported service is void at least

since January 20, 2017. 4

         Plaintiffs previously dismissed and re-filed this case outside the applicable statute of

limitations. Georgia’s renewal statute provides in pertinent part:

         “When any case has been commenced in either a state or federal court within the applicable
         statute of limitations and the plaintiff discontinues or dismisses the same, it may be
         recommenced in a court of this state or in a federal court either within the original
         applicable period of limitations or within six months after the discontinuance or dismissal,
         whichever is later . . . .” O.C.G.A. § 9-2-61(a) (emphasis added).

         The question is thus “when the instant lawsuit was ‘commenced’ as contemplated by the

renewal statute.” Georgia law provides that, in order to obtain the benefit of tolling of the statute

of limitations which is what the renewal statute is designed to provide, an action is not

“commenced” until service of process has been made and service that is perfected after expiration

of the statute of limitations will relate back to the date of filing of the complaint only in two

conditions: (i) when the plaintiff perfected service within five days of the filing of the complaint;

and (ii) when the plaintiff otherwise diligently attempted to perfect service. See Johnson v Am.

Meter Co., 412 F. Supp.2d 1260, 1263 (N.D. Ga. 2004) (collecting Georgia renewal cases

recognizing and applying this rule); Morris v. Haren, 52 F.3d 947, 949 (11th Cir. 1995) (applying

state definition of commencement to renewal action filed in federal court); and see also Cambridge

Mut. Fire Ins. Co. v. Claxton, 720 F.2d 1230, 1233 (11th Cir. 1983); Wade v. Whalen, 232 Ga.




4
  On January 20, 2017, Defendants Adams, Jones, Whitener and Winningham filed a Motion to Dismiss (Doc. 73).
Among the grounds for dismissal urged, they showed the Court that Sheriff’s deputies are disqualified to serve process
in cases in which the sheriff has an interest and that any such purported service is void. Plaintiffs did not timely
respond to that Motion to Dismiss nor have they ever responded. That Motion to Dismiss (Doc. 73) stands unopposed
and should be granted. A proposed Order (Doc. 88, Attachment 1) has been submitted to the Court for consideration.

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App. 765, 765, 504 S.E.2d 456, 458 (1998) (holding that the commencement date of an action will

relate back only if the plaintiff can show “that he acted in a reasonable and diligent manner in

attempting to insure that a proper service was made as quickly as possible”), overruled on other

grounds in Giles v. State Farm Mut. Ins. Co., 330 Ga. App. 314, 320-321, 765 S.E.2d 413 (2014).

       If “service is perfected more than five days after the filing of the complaint and after the

statute of limitations has run, service will relate back only if the plaintiff diligently attempted to

perfect service.” Claxton, 720 F.2d at 1233; see also Morris, 52 F.3d at 949. In order to show

diligence in attempting service, the plaintiff must “show that he acted in a reasonable and diligent

manner” to “effectuate proper service as quickly as possible.” Johnson, 412 F. Supp.2d at 1263-

1264; Wade, 232 Ga. App. at 765, 504 S.E.2d at 458. “Diligence is measured from the time of

filing the renewal action, not from the ending date of the six-month period under the renewal

statute.” Johnson, 412 F. Supp.2d at 1264. “As the burden rests on the plaintiff to ensure diligent

service, she must provide specific dates or details to show diligence and cannot rely on conclusory

statements.” Zeigler v. Hambrick, 257 Ga. App. 356, 357, 571 S.E.2d 418 (2002) (affirming a

finding of a lack of diligence where the plaintiff failed to provide any evidence that she took any

steps to ensure that her renewal action was served, such as by making inquiries at the marshal’s

office or by requesting a special process server).

       Plaintiffs cannot and do not show the required diligence. To the contrary, Plaintiffs

concede no timely effort whatsoever was made to serve any of the defendants. Plaintiffs’ first

attempt at service on any of movants here was 135 days after suit was filed. Because this action

was filed after the expiration of the two-year statute of limitations, because service did not occur

within five days of filing, and because Plaintiffs cannot and did not show diligent efforts to


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effectuate service and instead admit to the contrary, they cannot avail themselves of the renewal

statute to toll the two-year statute of limitations and all of their claims are time barred. The

purported service of these Defendants is out of time under applicable Georgia law and the

Complaint and Amended Complaint should therefore be dismissed.

                                                      Conclusion

       Plaintiffs’ purported service of these Defendants is void and is out of time under Georgia

law applicable to renewal actions. These Defendants respectfully request that the Court enter an

Order dismissing Plaintiffs’ Complaint and Amended Complaint.

       This 3rd day of March, 2017.

                                                               ELLIOTT, BLACKBURN & GOODING, PC


                                                                /s/ James L. Elliott
                                                               James L. Elliott
                                                               GA Bar No. 244244

Elliott, Blackburn & Gooding, PC
Attorneys at Law
3016 North Patterson Street
Valdosta, GA 31602
Phone: (229) 242-3333
Fax: (229) 242-0696
jelliott@ebbglaw.com




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                                        CERTIFICATE OF SERVICE

This is to certify that I have this day served a copy of the foregoing the following by filing the
same with the Court’s CM/ECF electronic filing system:

CHEVENE B. KING, JR.
THE C.B. KING LAW FIRM
POST OFFICE DRAWER 3468
ALBANY, GA 31706

PATRICK T. O’CONNOR
PAUL THRELKELD
OLIVER MANER, LLP
P.O. BOX 10186
SAVANNAH, GA 31412

TIMOTHY M TANNER
910 N PATTERSON ST
VALDOSTA, GA 31601

THEODORE FREEMAN
WAYNE S. MELNICK
ARASH ALI SABZEVARI
661 FOREST PKWY
FOREST PARK, GA 30297

DEVON ORLAND
40 CAPITOL SQUARE, S.W.
ATLANTA, GA 30334-1300

JOHN GEE EDWARDS
108 E VALLEY ST
VALDOSTA, GA 31601

This 3rd day of March, 2017.

                                                                ELLIOTT, BLACKBURN & GOODING, PC


                                                                 /s/ James L. Elliott
                                                                James L. Elliott
                                                                GA Bar No. 244244



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